                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS



LISA MENNINGER,

                         Plaintiff,

v.                                                   Civil Action No. 1:19-CV-11441-LTS


PPD DEVELOPMENT, L.P.,

                         Defendant.


                 DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

       Pursuant to Local Rule 56.1 and Fed. R. Civ. P. 56, Defendant PPD Development, L.P.

(“PPD” or the “Company”) moves this Court for an order granting it summary judgment on each

of Plaintiff Lisa Menninger’s (“Plaintiff”) two causes of action: Count I (disability

discrimination and retaliation under the Americans with Disabilities Act (“ADA”)), and Count II

(disability discrimination and retaliation under M.G.L. c. 151B). In support of this Motion, PPD

relies on its accompanying Statement of Undisputed Material Facts and Memorandum of Law,

and states as follows:

       1.      Plaintiff’s claims of disability discrimination (under both the ADA and M.G.L. c.

151B) fail as a matter of law because she is unable to show that she was (or is) a qualified

individual who was (or is) able to perform her job at PPD with or without a reasonable

accommodation.

       2.      Plaintiff’s claims of disability discrimination (under both the ADA and M.G.L. c.

151B) fail as a matter of law because she is unable to show that PPD took any adverse

employment action against her because of her disability.

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       3.        Plaintiff’s claims of disability discrimination (under both the ADA and M.G.L. c.

151B) fail as a matter of law because she is unable to show that a reasonable accommodation

was available.

       4.        Plaintiff’s claims of disability discrimination (under both the ADA and M.G.L. c.

151B), to the extent they are based on PPD’s alleged failure to engage in the interactive process,

fail as a matter of law because the record shows that PPD did in fact engage in the interactive

process with Plaintiff (and it was Plaintiff, not PPD, who terminated the dialogue).

       5.        Plaintiff’s claims of disability discrimination (under both the ADA and M.G.L. c.

151B) fail as a matter of law because Plaintiff’s application for social security disability

insurance (which was successful) – in which she certified to the federal government that she is

unable to work – estops her from arguing that she is able to perform her job at PPD.

       6.        Plaintiff’s claims of retaliation (under both the ADA and M.G.L. c. 151B) fail as a

matter of law because she cannot show that she suffered an adverse employment action. Even if

Plaintiff could somehow show that she suffered an adverse employment action (she cannot), she

is unable to show that it was causally connected to any protected activity.

       7.        Even if Plaintiff could somehow establish prima facie cases of discrimination

and/or retaliation (under the ADA and/or M.G.L. c. 151B), there is no evidence to suggest that

PPD’s reasons for addressing Plaintiff’s performance deficiencies were pretextual.

       8.        For these reasons, PPD is entitled to summary judgment on Counts I and II (i.e.,

the entirety of) Plaintiff’s Complaint.

       WHEREFORE, PPD respectfully requests that the Court grant its Motion for Summary

Judgment, enter judgment in favor of PPD, and grant such other and further relief as the Court

deems just.



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                                              PPD DEVELOPMENT, L.P.,

                                              By its attorneys,

                                              /s/ Alexandra E. Shaw
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Dated: March 24, 2021



                             REQUEST FOR ORAL ARGUMENT

         Pursuant to Local Rule 7.1(d), Defendant submits that it believes oral argument may
assist the Court in deciding this Motion. Defendant hereby requests that the Court schedule an
oral argument for this Motion.


           CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(A)(2)

       I hereby certify that, prior to making this motion, I conferred in good faith with Plaintiff’s
counsel as to whether the parties could resolve or narrow the issues absent the foregoing Motion.

                                              /s/ Alexandra E. Shaw
                                              Alexandra E. Shaw


                                 CERTIFICATE OF SERVICE

        I hereby certify that the within document filed through the CM/ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing on
March 24, 2021.



                                                      /s/ Alexandra E. Shaw
                                                      Alexandra E. Shaw

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